                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                          Case No: 1:22-cv-00342-LCB-JLW

 MATTHEW FREETAGE,

                      Plaintiff,
                                                     DEFENDANT’S REPLY IN
 v.
                                                   SUPPORT OF ITS MOTION TO
                                                      DISMISS PLAINTIFF’S
DUKE UNIVERSITY HEALTH
                                                          COMPLAINT
SYSTEM, INC.,

                      Defendant.


       Defendant Duke University Health System, Inc. (“Defendant”) respectfully submits

this Reply in Support of its Motion to Dismiss Plaintiff’s Complaint.

                                    I.     ARGUMENT

       Plaintiff argues that his Title VII retaliation claim should survive dismissal because

under the Court’s ruling in Pannachia v. City of Durham, 1:20cv418, 2021 WL 810358

(M.D.N.C. Mar. 3, 2021), he need not plead that the relevant decisionmaker had actual

knowledge of his protected activity to state a claim for retaliation. DE-17 p. 4. Plaintiff’s

argument should be rejected for three reasons.

       First, the Fourth Circuit has previously held that when considering a motion to

dismiss, “[i]n order to establish this causal connection, a plaintiff in a retaliation case must

show, at the very least, that the defendant was aware of her engaging in protected activity.”

Constantine v. Rectors & Visitors of George Mason Univ., 411 F.3d 474, 501 (4th Cir.

2005) (citing Dowe v. Total Action Against Poverty in Roanoke Valley, 145 F.3d 653, 657



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(4th Cir. 1998)). Second, “District courts within this circuit have applied [Dowe’s]

knowledge requirement upon motions to dismiss as well.” Valerino v. Holder, No.

1:11cv1124(GBLJFA), 2013 WL 12432290, at *11 (E.D. Va. Feb. 20, 2013), aff'd, 539 F.

App'x 256 (4th Cir. 2013) (collecting cases from Eastern and Western Districts of Virginia

and District of Maryland). Third, the Western District of North Carolina decided the case

Hunter v. Walmart subsequent to this Court’s decision in Pannachia. Hunter v. Walmart,

Inc., Case No. 3:19-CV-00459-RJC-DCK, 2021 WL 5238594, at *7 (W.D.N.C. Mar. 31,

2021) (dismissing retaliation claim because plaintiff did not allege that relevant

decisionmaker was aware of her protected activity).      Consequently, under established

Fourth Circuit precedent, as applied by numerous courts with the Circuit, Plaintiff’s

retaliation claim cannot survive dismissal because he concedes that he has not pled that

Mr. Faw had actual knowledge of Plaintiff’s complaint prior to terminating Plaintiff’s

employment.

                                  II.     CONCLUSION

       For the foregoing reasons, and the reasons discussed in Plaintiff’s Memorandum in

Support of its Motion to Dismiss, Defendant respectfully requests that the Court dismiss

Plaintiff’s Complaint in its entirety, with prejudice.




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       This 5th day of August, 2022.


                                       /s/ Tory Ian Summey
                                       Tory Ian Summey, N.C. Bar No. 46437
                                       Zachary S. Anstett, N.C. Bar No. 53371
                                       PARKER POE ADAMS & BERNSTEIN LLP
                                       620 South Tryon Street, Suite 800
                                       Charlotte, North Carolina 28202
                                       Telephone: (704) 335-9036
                                       Facsimile: (704) 334-4706
                                       Email: torysummey@parkerpoe.com
                                       Email: zackanstett@parkerpoe.com

                                       Attorneys for Defendant




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                         CERTIFICATE OF COMPLIANCE

       Pursuant to the Local Civil Rule 7.3(d)(1) of Rules of Practice and Procedure of the

United States District Court for the Middle District of North Carolina effective June 1,

2022, the undersigned hereby certifies that the foregoing “Defendant’s Reply in Support

of its Motion to Dismiss Plaintiff’s Complaint” was prepared on a computer using Times

New Roman 13 point font and does not exceed 3,125 words.

       This 5th day of August, 2022.


                                         /s/ Tory Ian Summey
                                         Tory Ian Summey, N.C. Bar No. 46437
                                         Zachary S. Anstett, N.C. Bar No. 53371
                                         PARKER POE ADAMS & BERNSTEIN LLP
                                         620 South Tryon Street, Suite 800
                                         Charlotte, North Carolina 28202
                                         Telephone: (704) 335-9036
                                         Facsimile: (704) 334-4706
                                         Email: torysummey@parkerpoe.com
                                         Email: zackanstett@parkerpoe.com

                                         Attorneys for Defendant




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                            CERTIFICATE OF SERVICE

       I hereby certify that on this date the foregoing “Defendant’s Reply in Support of its

Motion to Dismiss Plaintiff’s Complaint” was electronically filed with the Clerk of Court

using the CM/ECF system and served upon counsel for Plaintiff via the Court’s electronic

case filing system.

       This 5th day of August, 2022.


                                          /s/ Tory Ian Summey
                                          Tory Ian Summey, N.C. Bar No. 46437
                                          Zachary S. Anstett, N.C. Bar No. 53371
                                          PARKER POE ADAMS & BERNSTEIN LLP
                                          620 South Tryon Street, Suite 800
                                          Charlotte, North Carolina 28202
                                          Telephone: (704) 335-9036
                                          Facsimile: (704) 334-4706
                                          Email: torysummey@parkerpoe.com
                                          Email: zackanstett@parkerpoe.com

                                          Attorneys for Defendant




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